                                       
                                    In The
                               Court of Appeals
                     Seventh District of Texas at Amarillo

                           ________________________

                               No. 07-12-0353-CR
                           ________________________
                                       
                      JONATHAN DWAYNE HILLYER, APPELLANT

                                      V.

                         THE STATE OF TEXAS, APPELLEE
                                       

                    On Appeal from the 251st District Court
                             Randall County, Texas
          Trial Court No. 23361-C, Honorable Ana Estevez, Presiding 

                                       
                                 March 8, 2013
                                       
                             ON MOTION TO DISMISS
                                       
                Before Quinn, C.J., and Hancock and Pirtle, JJ.
                                       
Appellant, Jonathan Dwayne Hillyer, filed Notice of Appeal seeking appeal of a judgment convicting him of the offense of evading detention, and sentence of three years confinement in the Institutional Division of the Texas Department of Criminal Justice, suspended for a period of four years.  Appellant's counsel filed a Motion to Dismiss Appeal on March 4, 2013.

Because the motion meets the requirements of Texas Rule of Appellate Procedure 42.2(a), and this Court has not delivered its decision prior to receiving it, the motion is hereby granted and the appeal is dismissed.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained and our mandate will issue forthwith.

						Mackey K. Hancock
							Justice
Do not publish.  

